Case: 1:19-cv-01772 Document #: 1-3 Filed: 03/13/19 Page 1 of 5 PageID #:97




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 Case: 1:19-cv-01772 Document #: 1-3 Filed: 03/13/19 Page 2 of 5 PageID #:97




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Case: 1:19-cv-01772 Document #: 1-3 Filed: 03/13/19 Page 3 of 5 PageID #:97




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Case: 1:19-cv-01772 Document #: 1-3 Filed: 03/13/19 Page 4 of 5 PageID #:97




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Case: 1:19-cv-01772 Document #: 1-3 Filed: 03/13/19 Page 5 of 5 PageID #:97




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